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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


DONNA MICHAEL                    *
                                 *
                                 *
        v.                       *                           Civil No. – JFM-12-359
                                 *
FULTON FRIEDMAN & GULLACE LLP    *
                              ******

                                             ORDER


       Upon consideration of plaintiff’s motion for reconsideration and the memoranda

submitted in connection therewith, it is, this 11th day of June 2012

       ORDERED

       1. Plaintiff’s motion for reconsideration (document 18) is granted; and

       2. Plaintiff is awarded costs in the amount of $350 plus the attorney’s fee previously

awarded.




                                      __/s/____________________
                                      J. Frederick Motz
                                      United States District Judge




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